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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


  GWICH’IN STEERING COMMITTEE,
  ALASKA WILDERNESS LEAGUE,
  DEFENDERS OF WILDLIFE, and THE
  WILDERNESS SOCIETY,

                 Plaintiffs,
                                                           Civ. A. No. 19-2978 (CJN)
          v.

  U.S. DEPARTMENT OF THE INTERIOR,
  U.S. BUREAU OF LAND MANAGEMENT,
  and U.S. FISH AND WILDLIFE SERVICE,

                 Defendants.


                                     JOINT STATUS REPORT

       The parties, by and through counsel, submit the following joint status report pursuant to

the Court’s Order dated November 28, 2019.

                               The Status of Plaintiffs’ FOIA Requests

       This matter involves a total of nine Freedom of Information Act (“FOIA”) requests.

Plaintiffs submitted four FOIA requests to the Alaska State Office of U.S. Bureau of Land

Management (“BLM”), four requests to Office of the Secretary of the Department of the Interior

(“OS”), and one request to the U.S. Fish and Wildlife Service (“FWS”). The parties’ counsel

held a teleconference on December 4, 2019, to discuss the status of Plaintiffs’ FOIA requests and

other matters related to Defendants’ searches and processing of the requests. The terms of the

processing schedule that parties negotiated are also set forth below.

                                        The BLM Requests

       BLM completed its production and issued a final response for the “BLM S.O. 3355

Request” (BLM-2019-00324) on October 15, 2019. Plaintiffs advised on the December 4
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teleconference that Plaintiffs have concerns with the sufficiency of BLM’s response to that

request. Plaintiffs intend to send a communication to Defendants’ counsel in the coming days

summarizing any open issues. As the productions proceed, the parties will confer on any open

issues concerning the sufficiency of any completed productions in an attempt to resolve any such

disputes without the Court’s involvement.

       As of this filing, BLM has completed its searches for the remaining three BLM requests

but has not yet commenced producing responsive records. The results of BLM’s searches are

below. BLM commits to process the requests in the priority order listed below at a combined

processing rate of 500 pages per month. BLM will issue its first interim production on or before

December 31, 2019, with additional monthly productions on or before the last day of every

month.1

    1. BLM Government Shutdown Request: BLM-2019-00963: 1,000 pages.2 Defendant will
       issue the first interim production on or before December 31, 2019, and expects to issue a
       second and final production on or before January 31, 2020.

    2. BLM Draft EIS Deliverable Request: BLM-2019-00383: 5,250 pages. BLM will
       commence reviewing these records after it completes its response to the preceding
       request.

    3. BLM Seismic Communications Request: BLM-2019-00483: 9,400 pages. BLM will
       commence reviewing these records after it completes its response to the preceding
       requests.

                                       The OS Requests

       OS completed its production and issued a final response for the “DOI Government

Shutdown Request” (OS-2019-00520) on October 15, 2019. As with the completed BLM



1
 Whenever a specific day of the month for a production is listed, if that day falls on a weekend
or Federal holiday, the production will be completed on the next business day.
2
 All page counts in this Report are Defendants’ best estimates based on the information
presently available and are subject to change as the review proceeds.


                                                2
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request, Plaintiffs have concerns with the sufficiency of OS’s response to this request. As noted

above, the parties plan to confer on any open issues may identify as Defendants’ productions on

the other requests proceed.

       As of this filing, OS has completed its searches for the remaining three OS requests but

has not yet commenced producing responsive records. The results of OS’s searches are below.

OS commits to process the requests in the priority order listed below at a combined processing

rate of 500 pages per month. OS will issue its first interim production on or before January 10,

2020, with additional monthly productions on or before the last day of every month.3

    1. DOI Porcupine Caribou Herd Request: OS-2019-0378: 37 pages. OS will issue a first
       and likely final production on or before January 10, 2020.

    2. DOI S.O. 3355 Request: OS-2019-0314: 480 pages. OS will commence reviewing these
       records after it completes its response to the preceding request. It is expected that OS
       will issue its first interim production on or before January 31, 2020.

    3. DOI Seismic Communications Request: OS-2019-0565: 812 pages. OS will commence
       reviewing these records after it completes its response to the preceding requests. It is
       presently estimated that OS will complete its responses for all of its requests by the end
       of March 2020.

                                       The FWS Request

       The Gwich’in Steering Committee Plaintiffs’ request to FWS — the FWS Seismic

Communications Request, FWS-2019-00782 — overlaps to some degree with another request

that Plaintiff Defenders of Wildlife previously submitted to FWS and which is at issue in another

case before this Court — Defenders of Wildlife v. DOI, et al., Civ. A. No. 18-2572 (CJN)

(“Defenders”).

       As this Court is aware, the parties in the Defenders case negotiated a processing rate and

protocol for FWS’s review of potentially responsive records, which are voluminous. FWS is


3
 Whenever a specific day of the month for a production is listed, if that day falls on a weekend
or Federal holiday, the production will be completed on the next business day.


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processing the parent emails of a limited set of custodians that Defenders of Wildlife had

identified as the highest priority. In the Defenders case, FWS is processing the records at a rate

of 500 pages per month under a Court-ordered processing schedule. Because the records that

FWS has been producing thus far in the Defenders case are also responsive to the Gwich’in

Steering Committee Plaintiffs’ request, FWS has also been sending a courtesy copy of the

records to the Gwich’in Steering Committee Plaintiffs.

       As explained below, the parties do not necessarily agree about the extent to which the

two requests overlap and whether the filing of the additional request by the Gwich’in Steering

Committee Plaintiffs should impose any additional processing obligations on FWS, but the

parties have agreed on a protocol for Defendants’ processing of the FWS request.

       Defendants’ Position Statement

       FWS believes that the time frames for the FWS seismic requests in the two cases overlap

almost entirely.4 FWS does not presently intend to conduct a supplemental search for any

additional potentially responsive to Gwich’in Steering Committee Plaintiffs’ FWS Seismic

Communications Request. Nor does FWS presently intend to process any records uniquely

responsive to the Gwich’in Steering Committee Plaintiffs’ request until after it has completed

processing any and all records responsive to both requests. Moreover, it is Defendants’ position

that given the substantial overlap between the requests and parties (Defenders of Wildlife is also


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  According to FWS, the seismic request in the Defenders case sought records generated from
April 1, 2018, to the date of the search, and the seismic request in this case sought records
generated from April 15, 2018, through the date of the search. For both FWS seismic requests,
Defendants conducted a centralized search for electronic records on March 20, 2019. That
search included potentially responsive records with a date of November 1, 2017, through March
15, 2019. The Gwich’in Steering Committee Plaintiffs filed their FWS Seismic Communications
Request on March 8, 2019. See Compl. ¶ 179. Therefore, at most there are only one to two
weeks’ worth of records that “post-date” the request at issue in the Defenders case. And even at
that, the search was completed as of March 20, 2019.


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a Plaintiff in this case) that FWS should continue to process the records according to the protocol

and processing rate already in effect in the Defenders case.

       Plaintiffs’ Position Statement

       The Gwich’in Steering Committee Plaintiffs maintain that their request is not identical

because it seeks possibly different material and records that post-date the request at issue in the

Defenders case. Plaintiffs’ counsel further communicated that the Gwich’in Steering Committee

Plaintiffs are most interested in the documents that post-date the first request at issue in the

Defenders case. Therefore, it is Plaintiffs position that they should not have to wait for

Defenders’ case to finish in order to obtain the records that post-date or contain different material

than the records at issue in that case. FWS should accordingly perform a search for these records

and a disclosure schedule should be set in the near future.

       The Parties’ Agreement on the FWS Request

       For the time being FWS may continue to process the records in the priority order and at

the processing rate already established in the Defenders case. The parties agreed that to the

extent the Gwich’in Steering Committee Plaintiffs wish to raise any issues with FWS concerning

productions in the Defenders case to the extent the requests overlap, they will coordinate with

counsel of record in the Defenders case so that those issues may be properly addressed in

connection with the earlier filed Defenders case. Although FWS does not agree to conduct a

supplemental search or to commit to any additional processing at this time, the parties will

continue to confer on these issues as FWS’s disclosure proceeds in the Defenders case.

                              The Parties’ Joint Proposed Schedule

       The parties request that the Court direct the parties to file another Joint Status Report on

or before January 13, 2020, to update the Court on the status of Defendants’ productions and any




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other issues the parties wish to bring to the Court’s attention, and to propose a schedule for

further proceedings. A proposed order is attached.



Dated: December 13, 2019                              Respectfully submitted,

 /s/ Maresa Jenson                                    JESSIE K. LIU
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